 

Case 1:06-mc-OOO40-||\/|K-.]SK Document 12 Filed 02/05/07 Page 1 of 16 Page|D #: 152

F ll L `E D
IN THE UNITED sTATEs DIsTRICT CoURT FoR THE FEB 5 2997

NORTHERN DISTRICT OF WEST VIRGINIA US DES_,;RE.§ CUUR,I

'-’ .§,D!If-?_l?iii:‘§-, ‘;'-"’i'T‘J j@n
IN THE MATTER OF
THE EXTRADITION OF Misc. No. 1:06mc40
RAELIN SHAWN COLEMAN
MEMORANDUM OPINION AND ORDER

The United States of America (“the United States”), acting for and on behalf of the
Government of Canada (“Canada”), seeks a certification that Raelin Shawn Coleman (“Coleman”)
is extraditable to Canada. The United States is proceeding under the Treaty on EXtradition between
the United States of America and Canada, signed at Washington, D.C. December 3, 1971, and
entered into force on March 22, 1976 (TIAS 823 ?'); the Agreement amending the treaty effected by
exchange of notes signed at Washington, D.C. June 28 and July 9, 1974; the Protocol amending the
treaty signed at Ottawa on January 11, 1988, which entered into force on November 26, 1991; and

the Second Protocol amending the treaty signed at Ottawa on January 12, 2001 , which entered into

force on Aprii 30, 2003 (“rhe Treaty”), and 13 U.s.C. §3184 (“the srature”).l

 

l§ 3184 provides, in pertinent part:

Whenever there is a treaty or convention for extradition between the United States
and any foreign government . . . any justice or judge of the United States, or any
magistrate judge authorized so to do by a court of the United States . . . may upon
complaint made under oath, charging any person found within his jurisdiction, with
having committed Within the jurisdiction of any such foreign government any of the
crimes provided for by such treaty or convention, or provided for under section
3 18 1 (b), issue his warrant for the apprehension of the person so charged, that he may
be brought before such justice, judge, or magistrate judge, to the end that the
evidence of criminality may be heard and considered . . . . If, on such hearing, he
deems the evidence sufficient to sustain the charge under the provisions of the proper
treaty or convention, or under section 3181(b), he shall certify the same, together
with a copy of all the testimony taken before him to the Secretary of State, that a
warrant may issue upon the requisition of the proper authorities of such foreign
government, for the surrender of such person, according to the stipulations of the
treaty or convention; and he shall issue the warrant for the commitment of the person

Case 1:06-mc-OOO40-||\/|K-.]SK Document 12 Filed 02/05/07 Page 2 of 16 Page|D #: 153

Pursuant to the Treaty, Canada has submitted a formal request through diplomatic channels
for the extradition of Coleman. The U.S. Departrnent of Justice received a copy ofDiplomatic Note
No. 03 43 , dated November 24, 2006, by which the request for extradition was made. The documents
in support of extradition are properly certified and authenticated by Keith Powell, II, the Consul
General of the United States of America at Ottawa, so as to entitle them to be received in evidence
in accordance with Article 10 of the Treaty and Title 18, United States Code Section 3190.2

The United States filed its CompIaint under oath on December 20, 2006, charging Coleman
with having committed Within Canada crimes provided for by the Treaty. The undersigned United
States Magistrate Judge issued his warrant for Coleman’s apprehension on December 20, 2006, that
he may be brought before the Court to the end that the evidence of criminality may be heard and

considered

 

Coleman filed his “Motion to Deny Certification for Extradition” on January 1?, 2007
(Docket Entry '7). The United States filed its “Response to Relator’s Motion to Deny Certification
of Extradition” on January 29, 2007 (Docket entry 10).

In an extradition proceeding pursuant to 18 U.S.C. § 3184, this Court must determine: 1)

 

so charged to the proper jail, there to remain until such surrender shall be made.
2§.3190 provides, in pertinent part:

Depositions, warrants, or other papers or copies thereof offered in evidence upon the
hearing of` any extradition case shall be received and admitted as evidence on such
hearing for all the purposes of such hearing if they shall be properly and legally
authenticated so as to entitle them to be received for similar purposes by the tribunals
of the foreign country from which the accused party shall have escaped, and the
certificate of the principal diplomatic or consular officer of the United States resident
in such foreign country shall be proof that the same, so otfered, are authenticated in
the manner required.

 

 

Case 1:O6-mc-OOO40-||\/|K-.]SK Document 12 Filed O2/O5/O7 Page 3 of 16 Page|D #: 154

whether the United States and Canada are parties to avalid extradition treaty; 2) whether the accused
is in fact the person who has been charged by the requesting state; 3) whether the arrest warrant nom
Canada is outstanding; 4) whether the offenses of which Coleman is charged are extraditable under
the Treaty; and 5) whether there is probable cause to believe the accused committed the crime.
Matter of Extradition of Lui. 939 F.Supp. 934 (D. Mass. 1996).

On January 30, 2007, the Court commenced the hearing required by 18 U.S.C. §3184.
Coleman appeared in person and by his appointed counsel, Brian J. Kornbrath. The United States
appeared by its Assistant United States Attomey David E. Godwin.

For reasons stated below, the undersigned United States Magistrate Judge finds the United
States has met its burden of showing that Coleman is subject to extradition

Facts

The following facts are recited verbatim &om the parties’ stipulation of facts from Coleman’s
plea agreement in the Eastern District of Michi gan, and are not in dispute for purposes of the Motion
at bar.

On August 22, 2005, Raelin Coleman was in a dispute with an individual known to

law enforcement at his residence in Windsor, Ontario, Canada. COLEMAN, along

with two females . . . left the victim’s residence and entered the United States by

means of the Detroit-Windsor tunnel at approximately 0052 hours on August 23,

2005. COLEMAN drove to his residence in Southfield, Michigan and retrieved a a

[sic} Rernjngton Model 870 12 gauge shotgun, serial number D268497A.

COLEMAN placed the shotgun in his vehicle, and returned to the victim’ s residence

in Canada.

On August 23, 2005, at approximately 0220 hours, COLEMAN arrived at the

victim’s residence in Windsor, Ontario, Canada, where COLEMAN, as well as the

two females exited the vehicle. An argument again ensued. COLEMAN retrieved

the previouslyidentified Remington 870 shotgun from his vehicle. COLEMAN then

fired one shot at the victim from close range, striking him in the upper left thigh area.
COLEMAN returned to the identified vehicle, along with the two females and

 

Case1:O6-mc-OOO40-|I\/|K-.]SK Document 12 Filed O2/O5/O7 Page40 1 age

departed

COLEMAN discarded the identified Remington 870 shotgun into the Detroit River.

At approximately 0246 hours, COLEMAN re-entered the United States via the
Ambassador Bridge, in Detroit, Michigan.

On September 7, 2005, Coleman was ]ndicted in the Eastern District of Michigan in a one-

count Indictment charging him with “Transportation of a Fireann in Interstate and Foreign

 

Comrnerce with lntention to Commit a Crime,” in violation of 18 U.S.C. §924(b). On January 27,

2006, Coleman entered a plea of guilty to Count I (the only count) of the Indictment.

 

A Presentence Investigation Report (“PSR”) was submitted on March 3, 2006. The offense
conduct contained in the PSR is the same as that contained in the parties’ stipulation in the plea
agreement Coleman also submitted his “Version of the Offense,” stating:

On August 23, 2005, Mr. Coleman traveled from his residence in Michigan with his

Remington .12 gauge shotgun to Windsor, Ontario, Canada with the intent to commit

an offense which carries more than one year.

Mr. Coleman was arrested in the United States on approximately September 2, 2005 .

He pled guilty to the lndictment on January 27, 2006. He is sincerely sorry for this

offense
Pursuant to the 2005 edition of the Guidelines Manual, the Pretrial Services Officer computed
Coleman’s Offense Level for the charged offense of “Transportation of a Firearrn in lnterstate and
Foreign Commerce with lntent to Cornmit a Crime.” The base level offense for the violation was

listed as l2. Under “Specific Off`ense Characteristics,” the Pretrial Services Officer recommended:

As the defendant possessed and transported the firearm with intent to commit another
felony offense, pursuant to §2K2. l(b)($),3 four levels are added. However, as the

 

32K2.l applies to “Unlawful Receipt, Possession, or Transportation of Firearms or
Ammunition; Prohibited Transactions Involving Firearms or Ammunition.” in 2005, (b)($)
provided:

 

 

Case 1:O6-mc-OOO40-||\/|K-.]SK Document 12 Filed O2/O5/O7 Page 5 of 16 Page|D #: 156

offense level is less than 18, it is increased to 18.4
Under Pending Charges, the Pretrial Services Officer noted:

The defendant is pending a charge of Attempted Murder in the Provincial Court
Windsor, Ontario, Canada, under Case No. 05-4202-01.

9

Based on the total offense level of 15 and criminal history category of 1, the guideline imprisonment
range was 18-24 months. On April 27, 2006, Coleman was sentenced to 18 months in custody.

On August 26, 2005, Windsor police filed an Inforrnation and Arrest Warrant for Coleman,
charging that:

{O]n or about the 23rd day of August in the year 2005 at the City of Windsor in the
said region fColeman] did attempt to murder Tirn FISHER by discharging a firearm,
contrary to Section 239 of the Criminal Code of Canada . . . .

[O]n or about the 23rd day of August in the year 2005 at the City of Windsor in the
said region [Coleman] did, with intent to endanger the lif`e of Tim FISHER, discharge
a firearm, namely a shotgun at Tim FISHER, contrary to Section 244, clause (b) of
the Criminal Code of Canada . . . .

[O]n or about the 23rd day of August in the year 2005 at the City of Windsor in the
said region [Coleman] did possess a weapon, namely a shotgun, for the purpose of

committing an offense, contrary to Section 88, subsection (1) of the Criminal Code
of Canada. . . .

[O]n or about the 23rcl day of August in the year 2005 at the City of Windsor, in the
said region [Coleman] did, without lawful excuse, point a firearrn, namely a shotgun
at another person, namely Tim FISI-IER, contrary to Section 87, subsection (2) of the
Criminal Code of Canada.

 

lf the defendant used or posses any firearm or ammunition in connection with
another felony offense; or possessed or transferred any firearm or ammunition
with lcnowledge, intent, or reason to believe that it would be used or possessed in
connection with another felony offense, increase by 4 levels. lf the resulting
offense level is less than level 18, increase to level 1 8.

4Coleman received a three level deduction for acceptance of responsibility, for a total
offense level of 15.

 

 

 

Case 1:O6-mc-OOO40-||\/|K-.]SK Document 12 Filed O2/O5/O7 Page 6 of 16 Page|D #: 157

Discussion

Neither party disputes that the United States and Canada are parties to a valid extradition
treaty and the Court finds there is such a valid extradition treaty. Neither party disputes that there
is an outstanding warrant from Canada, and the Court so finds. Neither party disputes that Coleman
was found within the jurisdiction of this Court. Coleman was in the custody of the Bureau of
Prisons at FCI Gilmer in or near Glenville, in Gilmer County, West Virginia, within the Northem
District of West Virginia, by order of the United States District Court for the Eastern District of
Michigan. He was expected to be released from custody on Decernber 23, 2006. The Court
therefore finds he was found within this Court’s jurisdiction Neither party disputes that Coleman
is the individual named in the complaint or that there is probable cause to believe he committed the
crime alleged in the complaint, and the Court so finds. There is finally no dispute that the offenses
charged in Canada are punishable under the laws of both countries by imprisonment for more than
one year, and the Court so finds.

The sole issue before the Court is therefore whether the offenses with which Coleman is
charged in Canada are extraditable under the Treaty. Coleman argues that they are not, based on
Article 4 of the Treaty, which provides, in pertinent part:

(1) Extradition shall not be granted in any of the following circumstances:

(i) When the person whose surrender is sought is being proceeded
against or has been tried and discharged or punished in the territory
of the requested State for the offense for which his extradition is
requested.

Coleman argues: “Of critical importance to Coleman’s claim is the ‘parties stipula[tion] that the

following facts are true’ as contained on page 2 and 3 of the plea agreement;” and “Equally

 

 

 
 

Case 1:O6-mc-OOO40-||\/|K-.]SK Document 12 Filed O2/O5/O7 Page 7 of 16 Page|D #:

important to Coleman’s instant claim is the fact that his federal sentence was increased based on this
same alleged misconduct.” The stipulation of facts contained in the plea agreement does appear to `
recite most, if not all of the conduct that makes up the criminal charges in Canada. Coleman argues
that his extradition is barred by the “double jeopardy’ clause of the extradition treaty.

The Court first notes that the Fifth Amendment’ s protection against double jeopardy extends
only to successive prosecutions brought by the same sovereign E Abbate v. United States, 359
U.S. 187, 79 S.Ct. 666, 3 L.Ed.2d 729 (1959); United States v. Lanza, 260 U.S. 377, 43 S.Ct. 141,
67 L.Ed. 314(1922); Moore v. Illinois, 55 U.S. 13, 14 L.Ed. 306 (1852). The Double Jeopardy
Clause of the Fifth Amendment therefore does not itself bar Coleman’s extradition following his
prosecution in the United States even if the offenses charged were the same.

The Treaty between the United States and Canada does, however, bar Coleman’s extradition
if he “has been tried and discharged or punished in [the United States] for the offense for which his
extradition is requested.” This prohibition is contained in most United States extradition treaties.

The Court frames the question as whether the United States prosecution for “Transportation
of a Firearm in Interstate and Foreign Commerce with lntention to Commit a Crime,” in violation
of 18 U.S.C. §924(b), and the Canadian charges of attempted murder by discharging of a fireann;
discharge of a firearm with intent to endanger life; possession of a weapon, namely a shotgun, for
the purpose of committing an offense; and pointing a firearm at another person constitute sequential
prosecutions for the same “offense” within the meany of Article 4 of the Treaty.

Interpretation of an international treaty begins with the language itself unless it effects a result
inconsistent with the parties’ intentions E Sumitomo Shoii America. Inc. v. Avagliano, 457 U.S.

176, 102 S.Ct. 2374, 72 L.Ed.2d 765 (1982). A treaty is essentially a contract between two nations,

 

 

Case 1:O6-mc-OOO40-||\/|K-.]SK Document 12 Filed O2/O5/O7 Page 8 of 16 Page

and therefore interpretation starts with the text of the treaty and the context in which the written
words are used. Societe Nationale lndustrielle Aeror)astiale v. United States District Court for the
Southem District of lowa, 482 U.S. 522, 107 S.Ct. 2542, 96 L.Ed.2d 461 (1987).

The Court finds instructive the following from Factor v. Laubenheimer, 290 U.S. 276, 54

 

S.Ct. 191, 78 L.Ed. 315 (1933), even though the issue in that extradition differed from that at bar:

The obligation to do what some nations have done voluntarily in the interest of
justice and friendly international relations . . . .should be construed more liberally
than a criminal statute or the technical requirements of criminal procedure.

 

Coleman relies on Sindona v. Grant, 619 F.2d 167 (2“cl Cir. 1980) and Ashe v. Swenson, 397

 

 

U.S. 436 (1970) to support his argument The so-called “double jeopardy” clause in Siner is
nearly identical to that used in the case at bar. T he sole difference is the use of the term requested
“Party” in M and requested “State” here. ln M, the Government, relying on Blockburger
v. United States, 284 U.S. 299, 52 S.Ct. 180, 76 L.Ed. 306 (1932), urged that the test of whether an
“offense” is the same “is whether each provision requires proof of an additional fact which the other
does not.” Clearly, under the Blockburger test, the offense charged in this case in the United States
would be entirely different &om the offenses charged in Canada. The court in _SindM, however,
rejected the Blockburger test and instead approved “a modified and more flexible test of whether the
same conduct or transaction underlies the criminal charges in both transactions.” Ld. at 178, citing
Ashe v. Swenson, §u@ (concurring opinion).

Even relying on a test “at least as broad as that expressed in Mr. Justice Brennan’ s concurring

opinion in Ashe v. Swenson, sup_ra, or in the Petite policy,” the court in Sindona did not accept the

 

defendant’s conclusion that the offenses were the same and therefore not extraditable,” stating:

Broadly speaking, the ltalian prosecutor charged a gigantic fraud perpetrated on the

 

Case 1:O6-mc-OOO40-||\/|K5K Document 12 Filed O2/O5/O7 Page 9 of 16 Page|D #: 160

Italian banks which generated hinds that permitted Sindona to engage in allegedly

criminal activities in Italy and other countries including the United States. The

concern of the Republic of Italy is the harm done to depositors in the Italian banks;

that of the United States is the damage to American depositors and investors. The

crimes charged in the American indictment, while serious, are on the periphery of the

circle of crime charged by the Italian prosecutors Although the alleged Italian crime

may have been the “but-for”cause of the alleged American offenses in providing

Sindona with the wherewithal, it is not the crime for which the United States is

proceeding against hirn. Indeed, principles of territorial jurisdiction make it

extremely doubtful that this country could proceed against Sindona for the

overwhelming bulk of the matters being charged in Italy or that Italy could prosecute

him for most of the charges in the Arnerican indictment Article VI(l) of the Treaty

could not have been intended to have the consequence that substantial elements of

crime should be left unpunishable. We thus reject Sindona’s argument that Article

Vl(l) confers immunity from extradition
Similarly, the United States charged Coleman with “Transportation of a Firearm in lnterstate and
Foreign Commerce with lntention to Commit a Crime.” The elements of that offense, as stated in
the plea bargain agreement are: (1) Defendant transported a firearm in interstate and foreign
commercc; and (2) The defendant did so with the intent to commit an offense punishable by a term
of imprisonment exceeding one year. The Canadian authorities have charged Coleman with
attempted murder, discharge of a firearm with intent to endanger life, possession of a weapon for
the purpose of committing an offense, and pointing a firearm at another person Although “but for”
Coleman’s transportation of the firearm with intention to commit “a [felony] offense,” the crimes
charged in Canada may have never occurred, the offenses charged in Canada are clearly not the same
as the one offense for which the United States prosecuted him. “Indeed, principles of territorial
jurisdiction make it extremely doubtful that this country could proceed against [Coleman] for the
bulk of the matters being charged in [Canada] or that [Canada] could prosecute him for most of the
charges in the American lndictment. Article [IV(l)] of the Treaty could not have been intended to

have the consequence that substantial elements of the crime [the most egregious example of which

 
 
   

Page 10 of 16 Page|D

Case 1:O6-mc-OOO40-||\/|K-.]SK Document 12 Filed O2/O5/O7 .
v l
being attempted murder] should be left unpunishable.” Ld.

The Court finds the offenses for which Canada seeks to extradite Coleman are not the same
offenses for which he was already prosecuted in the United States, even if considered under the
broader _SM test.

Coleman also argues, however, that his federal sentence was increased based on the same
misconduct as alleged in the plea agreement and pre-sentence report, and that he therefore was
previously “punished” for this same misconduct The Court disagrees

The Second Circuit addressed a similar issue in Stowe v. Devoy, 588 F.2d 336 (2ncl Cir.
197 8). S_tow_e also involved an extradition treaty between Canada and the United States. The Court

acknowledges that Stowe is distinguishable from the case at bar, in that Stowe was arrested and

 

charged in Canada with conspiracy to import and importation of 5 Vz pounds of hashish into Canada
and was subsequently indicted by the State of New York for felonious possession and sale of 100
pounds of hashish, an offense alleged to have occurred while he was on bail pending trial on the
Canadian charges. The charges in Canada and New York were undisputedly based on totally
separate and distinguishable acts. ln fact, the court stated:

There was no suggestion in the [New York] proceedings that the crime (or the

hashish) which was the subject of the New York State prosecution was in any way

related to or a part of the crimes (or the hashish) which were the basis of the charges

pending against Stowe in Canada.

ln March 1977, Stowe, pursuant to a plea bargain, pleaded guilty in New York to criminal
possession of a controlled substance In December 197 7, Stowe was sentenced on that plea to a fine

of $1,000, without imposition of a jail sentence or any period of probation In October 1977, a

warrant was issued for Stowe’s arrest upon complaint alleging that the Canadian government had

10

 

 

 

Case 1:O6-mc-OOO40-||\/|K-.]S_K Document 12 Filed O2/O5/O7 Page 11 of 16 Page|D #: 162

requested Stowe’s extradition under the Treaty. At the request of Stowe’s counsel, the sentencing

judge in the New York case sent a letter to the United States Magistrate who would hear the

extradition matter, in which he stated:

While those charges in Canada were not before me, l did consider those charges as
part of the plea bargain arrangement and the sentence that was imposed. (Defense
counsel) submitted to me a copy of the minutes of the sentencing of Roger Stowe
before me on December 1 5, 1977, and has asked me to comment on an interpretation
he represented to me of those minutes given by an assistant United States Attorney,
to the effect that the sentence that l imposed was lenient because l was under the
impression that he would be punished additionally by Canadian authorities This was
not the case. My sentence was imposed because of the view with which the courts
and in particular, myself, have come to view marijuana offenses and because of the
particular background of the defendant before me, his role in the crimes charged, and

my knowledge and consideration of the charges against the defendant pending in
Canada.

The Second Circuit found the primary issue in the case was whether Article 4(1)(i) barred

Stowe’s extradition, holding that the offense for which Stowe alleged he had been “tried and

discharged or punished” as part of his plea bargain was not the same “offense for which extradition

[was] requested.” The Second Circuit then stated:

As we have noted, the protection ofArticle 4(1)(i) extends only to those persons who
have been previously “tried and discharged or punished” for the extraditing offense,
Defendant argues that the Article sets forth two alternative requirements; and that
extradition is barred if the higitive has been either “tried and discharged” or if he had
been “punished”. Thus, he claims that the Treaty elevated the concept of prior
punishment to a level of great importance However, as probation reports customarily
list all ofdefendant’s past indiscretions, there would almost always be a factual basis
for a contention that the defendant had been “punished” for the extraditable offense.
To read the provision so broadly does violence not only to its language but to the
reason and intent of the Treaty by giving any court the power to subvert the
extradition agreementl The Article does not apply unless two distinct requirements
are satisfied: (1) the fugitive must have been “tried” for the offense in question, and
(2) the trial must have resulted in discharge or punishment fn other words,
“discharged” and “punishe ” are corollaries, each of which modifies “tried”.

This interpretation is consistent with the purpose of Article 4(1)(i). The “double

11

Case 1:O6-mc-OOO40-||\/|K-.]iK Document 12 Filed O2/O5/O7 P|ige 12 of 16 Page|D #: 163

jeopardy provision of extradition treaties is intended to “prevent extradition of

Americans actually in the process of trial or who have been trie ”. Statement by

Mrs. Hauser before the Special Subcommittee on the Genocide Convention of the

Senate Committee on Foreign Relations (April 24, 1970). Reprinted in 63 Dep’t

State Bull. 9 (July 9, 1970).

Applying these considerations to the instant case, the state judge’s “consideration”

of charges not before the court did not fiilfill the necessary requirements for barring

extradition under the Article. To activate that provision the charges upon which a

fugitive has been “punished” in the United States not only must cover the same acts

as those which are the subject of the extradition request but must also have been the

subject of formal charges (upon which the defendant was "tried”) before “the

punishing” court

This Court also notes with approval a 2000 case from the Eastern District of New York,
Elcock v. United States, 80 F.Supp.2d 70 (E.D.N.Y. 2000). ln that case, the defendant Elcock,
together with a German accomplice, stole over $400,000 from a bank in Gerrnany. The two
concealed the money in a hollowed-out Teddy bear and three empty puzzle boxes and placed those
into a single package, mailing all to Elcock’s sister in the United States. Elcock himself then flew
back to the United States and intercepted the package.

Elcock was arrested, indicted, and tried in the United States District Court for the Eastern
District of New York on charges of transporting stolen currency in foreign commerce, receipt and
possession of stolen currency, and smuggling stolen currency into the United States. He was found
guilty of transporting stolen currency in foreign commerce and smuggling the currency into the
United States. I_d. at 73-74.

On July 2, 1998, Elcock was sentenced by the court Elcock objected to the portions of the
presentence investigative report which outlined his role in the theft from the German bank, but his

objections were overruled in that the court found “there was sufficient evidence to conclude that

Elcock had taken part in the theft.” 141 “Moreover, because Elcock had engaged in a ‘very clever

12

 

 

Case 1:O6-mc-OOO40-||\/|K-.]SK Document 12 Filed O2/O5/O7 Page 13 of 16 Page|D #: 164

scheme’ his sentence was enhanced by two levels for more than minimal planning.” He received
a sentence of thirty months in prison

While Elcock was being prosecuted in the United States, extradition proceedings were
commenced in the same court After an extradition hearing on February 10, 1998, a United States
Magistrate Judge issued a Certiiication and Order certifying the matter to the Secretary of State. l_d_.
at 75.

Elcock filed a petition for a writ of habeas corpus blocking his extradition, arguing that
because of his American prosecution, his extradition was barred by the prior jeopardy provision of
the extradition treaty between the United States and Germany. Among other arguments, Elcock
argued, as does Coleman here, that he had been punished for the bank robbery because the American
court considered evidence of “relevant conduct” under the Sentencing Guidelines and, based on that
evidence, made an upward departure for more than minimal planning I_d. at 86. The court noted:

Under domestic law, it is well-settled that an enhancement based on evidence of
relevant conduct does not constitute punishment for that conduct for double j eopardy
purposes. w United States v. Watts, 519 U.S. 148, 177 S.Ct. 633, 136 L.Ed.2d 351
(1995). In the view of American court, Elcock’s sentence was enhanced for more
than minimal planning, not for the robbery; the robbery in Germany was considered
only as evidence of the planning

Notwithstanding the domestic understanding of relevant conduct evidence, the
question arises whether a sentencing enhancement is “punish[ment]” within the
meaning of the Treaty. The Second Circuit decided this question in a case involving
a nearly identical double jeopardy provision in the United States’ extradition treaty
with Canada. ln Stowe v. Devoy, 588 F.2d 336 (2d Cir. 1978), the Second Circuit
held that the fact that a New York court had considered pending Canadian narcotics
charges in sentencing an extraditee for a domestic narcotics offense did not mean that
the extraditee had been “punished” for the Canadian charges within the meaning of
the treaty. . . . [T]he Canadian treaty provision applies only to individuals who have
been “tried and discharged or punished.” There having been no contention that he
had been “Tried by the New York court for the Canadian charges, the extraditee in
Stowe argues that the provision should be read disj unctively, i.e., as requiring only

13

 

Case 1:O6-mc-OOO40-||\/|K-JiK Document 12 Filed O2/O5/O7 Page 14 of 16 Page|D #: 165

 

that an individual have been either “tried and discharged” or “punished.” . . . .Noting

that probation reports customarily list all of a defendant’s past indiscretions, the

Second Circuit rejected this disjunctive reading on the grounds that ‘does violence

not only to [the provision’s] language but to the reasons and intent of the [t]reaty by

giving any court the power to subvert the extradition agreement.” . . . The Second

Circuit therefore held that the language in question requires both that the defendant

was “tried” for the offense in question, and that the trial resulted in discharge or

punishment . . . .

The same argument applies with respect to [Elcock’s claim]. Elcock makes no claim

that he was “tried” in America for the bank robbery, nor can he on any plausible

reading of the term. Thus, Elcock has not been “tried and . . punished” for the bank

robbery as required for Article 8 to apply.

The Court finds significant that 2K2.1, applied to Coleman in the Eastern District of
Michigan, concerns only the “Unlawful Receipt, Possession, or Transportation of Firearrns or
Ammunition.” There is no specific provision for any violent behavior or for any offense against a
person whatsoever. The crime with which Coleman was charged in the United States was
completed long before Coleman shot anyone. He possessed and transported the firearm with the
intent to commit another crime. He was not charged in the United States with committing the actual
“other crime.” He was not tried for committing the “other crime.” He was not punished for
committing the “other crime.” “lndeed, principles of territorial jurisdiction make it extremely
doubtful that [the United States] could [have] proceed[ed] against [Coleman] for the overwhelming
bulk of the matters being charged in [Canada] . . . . Sindona, supra. “Article [lV(l)] of the Treaty
could not have been intended to have the consequence that substantial elements of crime should be
left unpunishable.” I_d. The United States did not prosecute Coleman for attempted murder or any
violent crime whatsoever, nor could it To conclude that Coleman cannot be prosecuted in Canada

for the violent offenses he allegedly committed there would leave those offenses “left unpunishable.”

As the EDNY found in Elcock, this Court finds that Coleman was not tried and discharged

 

14

 

Case 1:O6-mc-OOO40-||\/|K-.]i Document 12 Filed O2/O5/O7 Pge 15 of 16 Page|D #: 166

or tried and punished for the Canadian offenses charged.
FINDINGS

For all the above reasons, the Court makes the following findings:

l. The undersigned United States Magistrate Judge had jurisdiction to conduct the extradition
proceeding;

2. This Court had jurisdiction over Coleman;

3. Coleman is the fugitive named in the request for extradition;

4. There is an extradition treaty in full force and effect between the United States of America
and Canada;

5. The crimes for which Coleman’s surrender is requested are covered by the Treaty;

6. The crimes for which Coleman ’ s surrender is requested are punishable under the laws of both

countries by imprisonment for more than one year;

7. The crimes for which Coleman’s surrender is requested are not of a political nature within
the meaning or any provision barring extradition for such crimes; and

8. There is competent legal evidence to support the finding of probable cause as to each charge
for which extradition is sought
CERTIFICATE OF EXTRADITABILITY
Accordingly, it is hereby ADJUDGED, DECREED, AND ORDERED as follows:
The United States District Court for the Northern District of West Virginia, by the
undersigned United States Magistrate Judge, hereby certifies to the Secretary of State that:
(a) With respect to Raelin Shawn Coleman, a fugitive from Canada who was found

in this judicial district, the United States Government, acting on behalf of the
Government of Canada, has provided “evidence sufficient to sustain the charge[s]

33

[against Coleman] under the provisions of the proper treaty or convention . . . . as
required by 18 U.S.C. §3184.

(b) The charges against Coleman are those set forth in the affidavits and sworn

15

Case 1:O6-mc-OOO40-||\/|K-¥ Document 12 Filed O2/O5/O7 we 16 of 16 Page|D #: 167

Complaint upon which Coleman’s arrest was made in this district

(c) All applicable requirements of Chapter 209 of Title 18 of the United States Code
for the extradition of Coleman to Canada have been met

(d) The transcripts and copies of records from Canada that accompany this

certification constitute “a copy of all the testimony taken” in this matter as provided

for in 18 U.S.C. § 3184.

This Certificate of Extraditability, the separate Warrarrt F or Commitment, together with all
formal extradition documents received into evidence, together with a certified copy of all testimony
and evidence taken at the hearing and all memoranda of law filed on the issue ofextradition, and all
orders of Court, shall be forwarded to the Secretary of State by the United States Attorney for the
Northern District of West Virginia, so that a warrant may issue upon the requisition of the proper
authorities of Canada for the surrender of Raelin Shawn Coleman, according to the provisions of the
“Treaty” between the United States of America and Canada (TIAS 823 7).

Defendant, Raelin Shawn Coleman, in accord with a separate Warrant For Commitrnent and
in accord with the provisions hereof, shall be committed to the custody of the U.S. Marshal’s
Service of the United States of America pending his surrender to Canada, or until the further order
of the court

The Clerk of the Court is directed to send a copy of this Memorandum Opinion and Order

to all counsel of record and appropriate agencies.

DATED: February 5, 2007.

Hl\l S. KAULL
UNlTED STATES MAGISTRATE JUDGE

>/,%/ n
g

16

 

